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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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GERALD VALME,

                              Plaintiff,                                       Case No.
                                                                               11 CV 5303 (JFB)(AKT)
       -   against -
                                                                               APPLICATION TO
ASSET MANAGEMENT SERVICES, INC.,                                               ENTER DEFAULT
                                                                               JUDGMENT
                              Defendants.
---------------------------------------------------------------------------X

        Pursuant to Rule 55(b)(2) of the Federal Rules of Civil Procedure the Plaintiff and Local
Civil Rule 55.2, plaintiff, Gerald Valme applies to this Court for entry of default judgment for
failure to plead or otherwise defend the above-captioned action against defendant Asset
Management Services, Inc., upon the attached Clerk’s certificate of default and copy of the claim
to which no response has been made.

       Should the Court grant the within application, plaintiff applies for an award of attorney’s
fees, costs and disbursements upon the affidavits and itemized billing logs of attorneys M.
Harvey Rephen, Esq. and William G. Goode, Esq., attached hereto as exhibits.

DATED:        Holbrook, New York
              September 24, 2012

                                                     LAW OFFICE OF WILLIAM G. GOODE

                                                            /s/ William G. Goode
                                                     By:____________________________
                                                            William G. Goode (WG 4506)
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